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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES                                 )
                                              ) CR 5-64
        v.                                    )
                                              )
ANDRE L. JACOBS

                                   MEMORANDUM ORDER

        Previously, Defendant filed a thorough, capable counseled Motion for compassionate

release. By Order dated September 24, 2020 (“September 24 Order”), the Motion was denied.

Defendant has filed a pro se Motion for Reconsideration of that Order, and the Government has

responded. Defendant’s submission has been assessed pursuant to liberal standards applicable to

pro se litigants.

        In denying Defendant’s Motion, I noted that “Defendant’s position centers on the

argument that if he were to contract the virus, the subsequent isolation will be damaging, and on

the assertion that mental illness can compromise the immune system.” Again, release is

appropriate if Defendant has a serious medical or physical condition, “if that condition

substantially diminishes his ability to provide self-care within the correctional facility

environment and from which he is not expected to recover.” U.S.S.G. § 1B1.13, comment. n.

1(A)(ii)). As a general matter, motions for reconsideration are to be granted sparingly, due to the

interest in finality of judgments. See, e.g., Sec'y United States Dep't of Labor v. Koresko, 726 F.

App'x 127, 132 (3d Cir. 2018).

        Presently, Defendant submits the June 22, 2020 report of Michael J. Zigmond, Ph.D,

which appears to have been prepared in connection with a separate civil lawsuit. Dr. Zigmond

states that he had spoken with Defendant over the phone multiple times in the months prior to his

report, as well as exchanging letters and e-mails. Dr. Zigmond’s report addresses the use and

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effects of solitary confinement generally, and recounts Defendant’s extremely difficult

experiences, both in childhood and while incarcerated. Based on this information, Dr. Zigmond

opines that Defendant’s mental illness, including PTSD, has been exacerbated by his years in

prison, particularly those spent in solitary confinement. I have no reason to doubt, for present

purposes, Dr. Zigmund’s conclusion that Defendant continues to suffer as a result of his

experiences. The present submission, however, does not “cure” the concerns raised in my

September 24 Order. For example, it does not address the effects of COVID-19-related

restrictions on Defendant’s mental state. Instead, the record in that regard remains unchanged

since Defendant’s counseled Motion was denied.

         At present, there are four positive inmate COVID-19 cases and zero positive staff cases at

FCI Allenwood Medium, where Defendant is housed. https://www.bop.gov/coronavirus/

(accessed Nov. 6, 2020). The facility houses 1051 inmates.

https://www.bop.gov/locations/institutions/alm/ (accessed Nov. 6, 2020). At this juncture,

approximately one month remains until Defendant is to be released to Renewal, a halfway house.

Other Courts have denied requests for early placement in a halfway house, on grounds that the

decision to place a defendant in a halfway house is left to the Bureau of Prisons’ discretion. See,

e.g., United States v. Heyward, No. 408-203, 2020 U.S. Dist. LEXIS 155940 (S.D. Ga. Aug. 27,

2020).

         As stated in my September 24 Order, I recognize the difficulties inherent in Defendant’s

situation. Nonetheless, I am bound by legal standards, and under those standards, Defendant’s

Motion for Reconsideration must be denied.




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AND NOW, this __ day of November, 2020, IT IS SO ORDERED.

                               BY THE COURT:



                               ___________________________

                               Donetta W. Ambrose
                               Senior Judge, U.S. District Court




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